                                                                                 US DISTRICT COURT
                                                                              WESTERN DIST ARKANSAS
                                                                                        FILED
                                                                                   NOV - 1 2018
                        IN THE UNITED STATES DISTRICT COURT DOUGLASF. YOUNG CI k
                       FOR THE WESTERN DISTRICT OF ARKANSAS By             ' er
                                                                                       Deputy Clerk


WALMART INC., a Delaware corporation;                            Case No.   l <[ C V S' .2.. /0
WAL-MART STORES EAST, LLC, an
Arkansas limited liability company; WAL-             BRIEF IN SUPPORT OF MOTION FOR
MART STORES EAST, L.P., a Delaware                      LEAVE TO FILE UNDER SEAL
limited partnership; WAL-MART.COM USA,
LLC, a California limited liability company;
WAL-MART STORES ARKANSAS, LLC, an
Arkansas limited liability company; WAL-
MART STORES TEXAS, LLC, a Delaware
limited liability company; WAL-MART
LOUISIANA, LLC, a Delaware limited liability
company; and WAL-MART PUERTO RICO,
INC., a Puerto Rico corporation,

                    Plaintiffs,
          V.


SYNCHRONY BANK,

                    Defendant.



          Plaintiffs Walmart Inc.; Wal-Mart Stores East, LLC; Wal-Mart Stores East, L.P.; Wal-

Mart.com USA, LLC; Wal-Mart Stores Arkansas, LLC; Wal-Mart Stores Texas, LLC; Wal-Mart

Louisiana, LLC; and Wal-Mart Puerto Rico, Inc. (collectively, "Walmart"), pursuant to Local Rule

7.2, submits the following Brief in Support of Motion for Leave to File Under Seal:

                                        INTRODUCTION

          This is a breach of contract case arising from a contract between Walmart and Synchrony

Bank-the Third Amended and Restated Consumer Credit Card Program Agreement (hereinafter,

the "Consumer Agreement"). A copy of the Consumer Agreement is provided under seal herewith




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as Exhibit A for the Court's consideration in connection with Walmart's Motion for Leave to File

Under Seal.

         The Consumer Agreement contains a confidentiality provision pursuant to which the

parties agreed that the terms of the Consumer Agreement, along with certain other proprietary and

competitively sensitive information, would be kept secure and confidential.

         On November 1, 2018, Walmart filed a redacted Complaint with information which is or

may be subject to the confidentiality provision of the Consumer Agreement. The Complaint, in

its unredacted form, contains information that is subject to the confidentiality provision of the

Consumer Agreement and also contains confidential research, development and commercial

information that could pose a serious threat to the parties' respective competitive positions and

give their competitors an unfair advantage if the information were to become public. See Fed. R.

Civ. P. 26(c).     Further, Synchrony has indicated it will aggressively pursue damages for any

perceived breach of the confidentiality provision by Walmart, and Walmart filed the redacted

Complaint and files this Motion to Seal in an effort to avoid even a perceived violation of the

confidentiality provision. A copy of the unredacted Complaint is provided under seal herewith as

Exhibit B for the Court's consideration in connection with Walmart's Motion for Leave to File

Under Seal.

                                           ARGUMENT

         Rule 5.2(d) of the Federal Rules of Civil Procedure provides that a "court may order that a

filing be made under seal without redaction." Rule 5.2(e) of the Federal Rules of Civil Procedure

provides that a court may require redaction of confidential information in a filing or limit or

prohibit a nonparty's remote access to a document filed with the court. Rule 26(c)(l)(G) of the

Federal Rules of Civil Procedure provides a "court may, for good cause, issue an order to protect




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a party ... from annoyance, embarrassment, oppression, or undue burden or expense, including .

. . requiring that a trade secret or other confidential research, development, or commercial

information not be revealed or be revealed only in a specified way."

         Courts have discretion to decide whether to issue an order requiring records to be sealed in

whole or in part, and such decisions are reviewed for abuse of discretion. IDT Corp. v. eBay, 709

F.3d 1220, 1223 (8th Cir. 2013). "Where the common-law right of access is implicated, the court

must consider the degree to which sealing a judicial record would interfere with the interests served

by the common-law right of access and balance that interference against the salutary interests

served by maintaining confidentiality of the information sought to be sealed." Id.

         Walmart makes this motion for leave to file to an unredacted Complaint under seal to avoid

violating the confidentiality provisions of the Consumer Agreement and prevent the public

disclosure of proprietary and competitively sensitive information.

                                          CONCLUSION

         Walmart respectfully requests that the Court enter an order permitting Walmart to file the

unredacted Complaint submitted to the Court as Exhibit B with Walmart's Motion for Leave to

File Under Seal.

         Dated this 1st day of November, 2018.




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                   WAL-MART STORES EAST, LLC
                   WAL-MART STORES EAST, L.P.
                   WAL-MART.COM USA, LLC
                   WAL-MART STORES ARKANSAS,                         LLC
                   WAL-MART STORES TEXAS, LLC
                   WAL-MART LOUISIANA, LLC,
                   WAL-MART PUE      CO,INC.

                   Plaintiffs

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